Case 2:22-cv-14102-DMM Document 250 Entered on FLSD Docket 08/11/2022 Page 1 of 31



                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF FLORIDA

    Donald J. Trump,

                            Plaintiff,

            v.
                                               Civil Action No. 2:22-14102-DMM
    Hillary R. Clinton et al.,

                            Defendants.




      HILLARY CLINTON’S, HFACC, INC.’S, JOHN PODESTA’S, ROBERT MOOK’S,
         JAKE SULLIVAN’S, DNC’S, DNC SERVICES CORPORATION’S, DEBBIE
      WASSERMAN SCHULTZ’S, PERKINS COIE LLP’S, MARC ELIAS’S, MICHAEL
       SUSSMANN’S, CHARLES HALLIDAY DOLAN, JR.’S, FUSION GPS’S, GLENN
         SIMPSON’S, PETER FRITSCH’S, NELLIE OHR’S, BRUCE OHR’S, IGOR
      DANCHENKO’S, RODNEY JOFFE’S, NEUSTAR SECURITY SERVICES’S, AND
        NEUSTAR, INC.’S REPLY IN SUPPORT OF THEIR MOTION TO DISMISS
Case 2:22-cv-14102-DMM Document 250 Entered on FLSD Docket 08/11/2022 Page 2 of 31



                                                      TABLE OF CONTENTS

                                                                                                                                           Page

   INTRODUCTION ...........................................................................................................................1

   ARGUMENT ...................................................................................................................................1

   I.        PLAINTIFF’S CLAIMS ARE TIME-BARRED.................................................................1

             A.         Plaintiff Is Not Entitled to Equitable Tolling. ..........................................................2

             B.         Plaintiff’s RICO and RICO-Conspiracy Claims Are Time-Barred. ........................3

                        1.         Statutory Tolling Does Not Apply. ..............................................................3

                        2.         Fraudulent Concealment Does Not Apply Because Plaintiff Was
                                   Aware of His Claims. ...................................................................................5

                        3.         The Discovery Rule Does Not Toll Plaintiff’s RICO Claim. ......................5

             C.         Plaintiff’s Other Claims Are Time-Barred. .............................................................7

   II.       EACH OF PLAINTIFF’S CLAIMS FAILS ON THE MERITS.........................................7

             A.         Plaintiff’s Civil RICO Claim (Count I) and Conspiracy Claim (Count II)
                        Fail on Multiple Independent Grounds. ...................................................................7

             B.         Plaintiff Has Not Stated Claims for Injurious Falsehood (Count III) and
                        Conspiracy To Commit Injurious Falsehood (Count IV). .....................................15

             C.         Plaintiff Has Not Stated Claims for Malicious Prosecution (Count V) or
                        for the Related Conspiracy Claim (Count VI). ......................................................17

             D.         Plaintiff Has Not Stated a Claim Under the Computer Fraud and Abuse
                        Act (Count VII). .....................................................................................................18

             E.         Plaintiff Has Not Stated a Claim Under the Defend Trade Secrets Act
                        (Count VIII). ..........................................................................................................19

             F.         Plaintiff Has Not Stated a Claim Under the Stored Communications Act
                        (Count IX). .............................................................................................................19

             G.         Plaintiff’s Agency and Respondeat Superior Counts Have Been
                        Abandoned and Should Be Dismissed (Counts X–XVI). ......................................20

   III.      PLAINTIFF’S REQUEST FOR LEAVE TO AMEND IS IMPROPER AND
             SHOULD BE DENIED. ....................................................................................................20

   CONCLUSION ..............................................................................................................................20




                                                                         i
Case 2:22-cv-14102-DMM Document 250 Entered on FLSD Docket 08/11/2022 Page 3 of 31



                                                     TABLE OF AUTHORITIES

                                                                                                                                          Page(s)

                                                                      CASES

   777 Partners LLC v. Pagnanelli, No. 20-cv-20172, 2021 WL 2038175 (S.D. Fla. Mar. 8,
      2021) ........................................................................................................................................18

   Al-Rayes v. Willingham, 914 F.3d 1302 (11th Cir. 2019)................................................................8

   Ashcroft v. Iqbal, 556 U.S. 662 (2009) ............................................................................................1

   Asinmaz v. Semrau, 42 So. 3d 955 (Fla. 4th DCA 2010) ..............................................................17

   Bessemer Sys. Fed. Credit Union v. Fiserv Sols., No. 19-cv-00624-RJC, 2021 WL
      4198281 (W.D. Pa. Sept. 15, 2021) .........................................................................................18

   Brown Jordan Int’l, Inc. v. Carmicle, 846 F.3d 1167 (11th Cir. 2017) ...................................18, 19

   Caplan v. Johnson, 414 F.2d 615 (5th Cir. 1969)..........................................................................17

   Chappell v. Rich, 340 F.3d 1279 (11th Cir. 2003)...........................................................................7

   Clinton v. Jones, 520 U.S. 681 (1997) .............................................................................................2

   Corsi v. Newsmax Media, Inc., 519 F. Supp. 3d 1110 (S.D. Fla. 2021) ........................................17

   Credit Suisse Sec. (USA) LLC v. Simmonds, 566 U.S. 221 (2012) ..................................................5

   Doty v. ADT, LLC, 20-cv-60972, 2020 WL 9071421 (S.D. Fla. Dec. 30, 2020) ..........................18

   Falic v. Legg Mason Wood Walker, Inc., 347 F. Supp. 2d 1260 (S.D. Fla. 2004) ........................15

   Fedance v. Harris, 1 F.4th 1278 (11th Cir. 2021) ...........................................................................5

   Fischer v. Debrincat, 169 So. 3d 1204 (Fla. 4th DCA 2015) ........................................................17

   Fridovich v. Fridovich, 598 So. 2d 65 (Fla. 1992) ........................................................................17

   Gomez v. Miami-Dade Cnty., 563 F. Supp. 3d 1211 (S.D. Fla. 2021) ..........................................20

   Hamilton Grp. Funding v. Basel, 311 F. Supp. 3d 1307 (S.D. Fla. 2018) ....................................19

   Hamm v. Rhone-Poulenc Rorer Pharms., Inc., 187 F.3d 941 (8th Cir. 1999) ..............................13

   Harte-Hanks Commc’ns, Inc. v. Connaughton, 491 U.S. 657 (1989) ...........................................16

   Henry v. Examworks Inc., No. 20-cv-12268, 2021 WL 3440698 (11th Cir. Aug. 6, 2021) ............2



                                                                           ii
Case 2:22-cv-14102-DMM Document 250 Entered on FLSD Docket 08/11/2022 Page 4 of 31



                                                   TABLE OF AUTHORITIES
                                                         (continued)

                                                                                                                                       Page(s)

   Horgan v. Felton, 123 Nev. 577 (2007).........................................................................................16

   Int’l Primate Prot. League v. Adm’rs of Tulane Educ. Fund, 500 U.S. 72 (1991) ..........................3

   Kelly v. United States, 140 S. Ct. 1565 (2020) ..............................................................................12

   Klehr v. A.O. Smith Corp., 521 U.S. 179 (1997) .............................................................................5

   Kremen v. Cohen, 337 F.3d 1024 (9th Cir. 2003)..........................................................................10

   Leh v. Gen. Petroleum Co., 382 U.S. 54 (1965) ..............................................................................4

   Live Face on Web, LLC v. Tweople, Inc., No. 14-cv-44, 2014 WL 12611359 (M.D. Fla.
      Sept. 29, 2014) .........................................................................................................................19

   Lord Abbett Mun. Income Fund, Inc. v. Tyson, 671 F.3d 1203 (11th Cir. 2012) ..........................20

   Melford v. Kahane & Assocs., 371 F. Supp. 3d 1116 (S.D. Fla. 2019) .........................................17

   N.Y. Times Co. v. Sullivan, 376 U.S. 254 (1964) ...........................................................................16

   Pension Fund Mid Jersey Trucking Indus. v. Omni Funding Grp., 687 F. Supp. 962
      (D.N.J. 1988)..............................................................................................................................4

   Pittman v. State Farm Fire & Cas. Co., 662 F. App’x 873 (11th Cir. 2016) ................................20

   Pro. Real Estate Invs., Inc. v. Columbia Picture Indus., Inc., 508 U.S. 49 (1993) .......................11

   Rajaratnam v. Motley Rice, LLC, 449 F. Supp. 3d 45 (E.D.N.Y. 2020) .......................................13

   Reves v. Ernst & Young, 507 U.S. 170 (1993) ...............................................................................13

   Schwartz v. ADP, Inc., No. 21-cv-283, 2021 WL 5760434 (M.D. Fla. Dec. 3, 2021) ..................19

   Spence-Jones v. Rundle, 991 F. Supp. 2d 1221 (S.D. Fla. 2013) ..................................................12

   Taxinet Corp. v. Leon, No. 16-cv-24266, 2018 WL 3405243 (S.D. Fla. July 12, 2018) ................9

   Trump v. Comm. on Ways & Means, 391 F. Supp. 3d 93 (D.D.C. 2019)........................................3

   Trump v. Mazars USA, LLP, 140 S. Ct. 2019 (2020) ......................................................................3

   Trump v. Vance, 140 S. Ct. 2412 (2020) .........................................................................................3

   United States v. Amri, No. 17-cr-50, 2017 WL 3262254 (E.D. Va. July 31, 2017) ......................11


                                                                         iii
Case 2:22-cv-14102-DMM Document 250 Entered on FLSD Docket 08/11/2022 Page 5 of 31



                                                    TABLE OF AUTHORITIES
                                                          (continued)

                                                                                                                                         Page(s)

   United States v. Grubb, 11 F.3d 426 (4th Cir. 1993) .....................................................................12

   United States v. Lee, 919 F.3d 340 (6th Cir. 2019) .......................................................................12

   United States v. Ronda, 455 F.3d 1273 (11th Cir. 2006) ...............................................................11

   United States v. Ronga, 682 F. App’x 849 (11th Cir. 2017) .........................................................11

   United States v. Williams, 571 F. App’x 887 (11th Cir. 2014) ......................................................11

   Urquilla-Diaz v. Kaplan Univ., 780 F.3d 1039 (11th Cir. 2015) ..................................................20

   Van Buren v. United States, 141 S. Ct. 1648 (2021) .....................................................................18

   VVIG, Inc. v. Alvarez, No. 18-cv-23109, 2019 WL 5063441 (S.D. Fla. Oct. 9, 2019) ...................9

   Wallace v. Kato, 549 U.S. 384 (2007) .........................................................................................2, 6

                                                      RULES AND STATUTES

   15 U.S.C. § 16(i) ..........................................................................................................................3, 4

   18 U.S.C. § 1512(b)(3) ............................................................................................................10, 11

   18 U.S.C. § 1512(c)(2) ...................................................................................................................12

   18 U.S.C. § 1962(c) .........................................................................................................................8

   Fed. R. Civ. P. 8 .............................................................................................................................13

   Fed. R. Civ. P. 9(b) ..................................................................................................................13, 14

   Fed. R. Civ. P. 9(g) ........................................................................................................................16

   S.D. Fla. Local Rule 15.1 ...............................................................................................................20




                                                                          iv
Case 2:22-cv-14102-DMM Document 250 Entered on FLSD Docket 08/11/2022 Page 6 of 31




                                          INTRODUCTION

          Plaintiff’s lengthy Opposition largely ignores the legal flaws that Defendants identified in

   their two rounds of motions to dismiss. In sum, Plaintiff’s allegations do not add up to any

   cognizable claims. As an initial matter, his own tweets confirm his claims are untimely. In an

   attempt to revive them, Plaintiff urges the Court to invent a novel Presidential tolling doctrine

   wholly unsupported by case law and belied by his own extracurricular litigation while in office.

          Plaintiff’s claims fare no better on the merits. He simply reiterates and block-quotes

   allegations in the Amended Complaint (“AC”), asserting they must be adequate because they are

   voluminous. But notwithstanding the density of Plaintiff’s allegations, each claim is missing

   necessary legal predicates, devoid of well-pleaded factual allegations, or improperly based on

   “labels and conclusions or a formulaic recitation of the elements.” Ashcroft v. Iqbal, 556 U.S. 662,

   678 (2009). And where Plaintiff cites cases, they are irrelevant, distinguishable, or—often—

   contrary to his own position.

          Plaintiff’s insistence (at 21) that Defendants shared a corrupt motive to harm his “political

   reputation” and “damag[e] his electability” exposes this suit for what it is: an effort to exact

   political payback and inflict needless litigation costs on Plaintiff’s perceived opponents. But

   Plaintiff’s political grudges are not legally cognizable claims, and nothing in the Opposition

   overcomes the many deficiencies that require dismissal of the AC with prejudice.

                                             ARGUMENT

   I.     PLAINTIFF’S CLAIMS ARE TIME-BARRED.

          Plaintiff nowhere acknowledges that his own tweets prove he was on notice of his

   purported claims, at the very latest, by October 2017. Despite now insisting that he could not have

   discovered his claims until recently, Plaintiff took to Twitter in 2017 to accuse Clinton, the

   Democrats, the intelligence community, and others of the very conduct at the heart of the AC: the
Case 2:22-cv-14102-DMM Document 250 Entered on FLSD Docket 08/11/2022 Page 7 of 31




   alleged fabrication of the Steele Dossier and use of DNS data as part of an effort to build a

   supposedly false narrative of his connections to Russia. See MTD 3–4. Because Plaintiff’s tweets

   are judicially noticeable and prove his claims are untimely, the Court should dismiss on statute-

   of-limitations grounds. Henry v. Examworks Inc., No. 20-cv-12268, 2021 WL 3440698, at *3

   (11th Cir. Aug. 6, 2021).

                  A.      Plaintiff Is Not Entitled to Equitable Tolling.

          Plaintiff argues (at 2–6) that he is entitled to equitable tolling during his presidential term

   because “he was preoccupied with carrying out his eminently important presidential duties” and

   was “tirelessly . . . devoted to serving the Nation and ensuring the well-being of the American

   people.” See Opp. 4, 5. Plaintiff failed to plead these factual predicates for his latest effort to

   avoid the statute of limitations. And any such pleading would be futile, because no authority

   supports the “rare remedy” of equitable tolling here. Wallace v. Kato, 549 U.S. 384, 396 (2007).

          Indeed, the Supreme Court has held that presidential duties do not afford a President shelter

   from civil litigation. Although Plaintiff relies on language from Clinton v. Jones, 520 U.S. 681

   (1997), he ignores its holding. There, the Court rejected a stay of civil litigation during President

   Clinton’s term. Notwithstanding the burdens of the office, the Court concluded that the President’s

   engagement in civil litigation would not unduly interfere with his responsibilities. See 520 U.S. at

   708–10. It also noted that Congress could provide the President with protections, including

   “tolling or stay of civil claims,” id. at 709 (emphasis added), but such protection did not exist by

   default. Clinton therefore confirms that the President enjoys neither an automatic stay of litigation

   against him, nor, absent Congressional action, tolling of civil claims that may exist during his term.

          Plaintiff argues (at 5) that filing suits on his own behalf during his presidency “would have

   been ‘to the detriment . . . of the Nation that the Presidency was designed to serve,’” and would




                                                     2
Case 2:22-cv-14102-DMM Document 250 Entered on FLSD Docket 08/11/2022 Page 8 of 31




   have prevented him from “fully and faithfully executing his duties as President.” This unpleaded

   assertion is belied by historical fact: Plaintiff fails to disclose that he did find time during his

   presidency to file multiple suits “in his personal capacity.” See, e.g., Trump v. Vance, 140 S. Ct.

   2412, 2420 (2020) (suit brought by “[t]he President, acting in his personal capacity,” to enjoin

   enforcement of a subpoena); Trump v. Mazars USA, LLP, 140 S. Ct. 2019, 2028 (2020) (suit

   brought by “the President in his personal capacity” to challenge subpoenas); Trump v. Comm. on

   Ways & Means, 391 F. Supp. 3d 93, 95 (D.D.C. 2019) (suit brought by Plaintiff “in his personal

   capacity”). Plaintiff’s conduct while in office belies any claim that the equities require his novel

   theory of tolling, which finds no support in the law or on the facts.

          B.      Plaintiff’s RICO and RICO-Conspiracy Claims Are Time-Barred.

                  1.      Statutory Tolling Does Not Apply.

          As Plaintiff concedes, the Clayton Act provides for tolling of private suits “[w]henever any

   civil or criminal proceeding is instituted by the United States to prevent, restrain, or punish

   violations of any of the antitrust laws.” 15 U.S.C. § 16(i) (emphasis added). Plaintiff pointedly

   ignores the critical, limiting prepositional phrase—“of the antitrust laws”—when he paraphrases

   the provision as providing tolling on the basis of “any civil or criminal proceeding . . . instituted

   by the United States.” But this statutory language must be construed in light of the phrase limiting

   which proceedings give rise to statutory tolling. See, e.g., Int’l Primate Prot. League v. Adm’rs of

   Tulane Educ. Fund, 500 U.S. 72 (1991) (construing a subject limited by a prepositional phrase).

   Under Section 16(i), private suits are not tolled based on “any civil or criminal proceeding”;

   instead, they are tolled only when the government brings actions to punish violations “of the

   antitrust laws.” Such tolling would not apply based on government proceedings for violation of

   other, non-antitrust laws.




                                                     3
Case 2:22-cv-14102-DMM Document 250 Entered on FLSD Docket 08/11/2022 Page 9 of 31




           Thus, even assuming Congress intended to provide analogous tolling when the United

   States institutes any action to “prevent, restrain, or punish violations of [RICO]”—a proposition

   with scant support in case law or the text of the statute, see MTD 5 n.7—Plaintiff would be entitled

   to statutory tolling only if he identified a “civil or criminal proceeding . . . instituted by the United

   States” to punish a RICO violation—not some other alleged violation of law.

           None of the suits Plaintiff identifies (at 9–13) were instituted to punish a violation of RICO

   or any RICO predicate act. Plaintiff relies (at 9) on Leh v. General Petroleum Co., 382 U.S. 54

   (1965), for the proposition that tolling applies as long as the plaintiff’s suit is “based in whole or

   in part on any matter complained of,” or bears a “real relation” to the subject matter of the

   government suit. But that rule applies only if the predicate under Section 16(i) is met—that is, if

   the government suit was a proceeding to enforce the antitrust laws (or, here, RICO). In Leh, the

   parallel government action alleged that companies had conspired to violate the Sherman Act—an

   antitrust violation. 382 U.S. at 60. The predicate for Section 16(i) tolling was satisfied, so the

   Court evaluated whether the private plaintiff’s complaint was “based in whole or in part on any

   matter complained of” in the government’s antitrust complaint. Id.

           Here, by contrast, the government has not instituted any proceedings to punish a RICO

   violation, or any predicate act. No statutory tolling therefore applies, regardless of whether

   Plaintiff’s suit bears a “real relation” to other proceedings. Plaintiff’s three out-of-circuit district

   court cases are not to the contrary. There, each parallel government suit appeared to involve a

   RICO predicate.1 Plaintiff urges the Court to adopt a tolling rule that not only rewrites the text of


    1
        See Mot. for Jud. Notice, DE 16, Gianelli v. Schoenfield, No. 2:21-cv-477 (E.D. Cal. Apr. 15,
        2021) (parallel government charges of money laundering and conspiracy to commit wire
        fraud); Compl. ¶¶ 207–10, DE 1, Pres. Petrified Forrest v. Renzi, No. 12-cv-8140 (D. Ariz
        July 12, 2012) (parallel government indictment for money laundering, wire fraud, extortion,
        and racketeering); Pension Fund Mid Jersey Trucking Indus. v. Omni Funding Grp., 687 F.
        Supp. 962, 963 (D.N.J. 1988) (referring to “parallel criminal litigation”).


                                                      4
Case 2:22-cv-14102-DMM Document 250 Entered on FLSD Docket 08/11/2022 Page 10 of 31




    the statute, but which would effectively render the limitations period for RICO claims so expansive

    as to be meaningless.

                   2.       Fraudulent Concealment Does Not Apply Because Plaintiff Was
                            Aware of His Claims.

           Plaintiff next argues (at 13–14) that his RICO claim should be tolled due to supposed

    fraudulent concealment. But as Defendants already noted, MTD 4, “the concealment requirement

    is satisfied only if the plaintiff shows that he neither knew nor, in the exercise of due diligence,

    could reasonably have known of the offense.” Klehr v. A.O. Smith Corp., 521 U.S. 179, 195–96

    (1997). In other words, “when a limitations period is tolled because of fraudulent concealment of

    facts, the tolling ceases when those facts are, or should have been, discovered by the plaintiff.”

    Credit Suisse Sec. (USA) LLC v. Simmonds, 566 U.S. 221, 227 (2012). The case Plaintiff himself

    cites reiterates this principle: “The defendant must have actively concealed facts such that the

    plaintiff remained ‘ignoran[t] of a potential claim,’ not ‘merely ignoran[t] of evidence.’” Fedance

    v. Harris, 1 F.4th 1278, 1287 (11th Cir. 2021) (rejecting tolling and citing Credit Suisse).

           Plaintiff’s own tweets—which describe the Steele Dossier as “put together by my political

    opponents and a failed spy afraid of being sued,” “Clinton made,” and connected to “the Comey

    fix” and “phony Trump/Russia . . . collusion,” see MTD 3–4—make that clear he was aware of

    the theory underlying his alleged RICO conspiracy no later than October 29, 2017, notwithstanding

    any supposed concealment. At most, Plaintiff’s arguments (at 13–14) suggest that he may have

    been ignorant “of evidence,” not ignorant “of a potential claim”—exactly what his own authority

    rejects as a basis for tolling. See Fedance, 1 F.4th at 1287.

                   3.       The Discovery Rule Does Not Toll Plaintiff’s RICO Claim.

           Plaintiff asserts (at 15–16) that he alleges “three subsets of categories” of damages that

    supposedly reset the clock on his RICO claim: (1) “attorneys’ fees and costs of defense” related



                                                     5
Case 2:22-cv-14102-DMM Document 250 Entered on FLSD Docket 08/11/2022 Page 11 of 31




    to “numerous federal investigations”; (2) “losses Plaintiff sustained to his business and political

    reputation”; and (3) “loss of trade secrets.”

            As to the first two categories—attorneys’ fees and costs of defense, and harm to

    reputation2—Plaintiff asserts (at 15, 16) that he could not have been aware of “the true extent” of

    these injuries until late in the Mueller Investigation. But “the statute of limitations commences to

    run[] when the wrongful act or omission results in damages,” and a “cause of action accrues even

    though the full extent of the injury is not then known or predictable.” Wallace, 549 U.S. at 391

    (emphasis added). To the extent Plaintiff claims costs associated with government investigations,

    he concedes (at 15) those costs would have begun no later than May 2017, after the initiation of

    the Mueller Investigation. To the extent Plaintiff claims reputational harms from media coverage

    of his alleged connection with Russia, such harms would have begun in October 2016, with the

    “media blitz” regarding connections between the Trump Organization and Alfa Bank. AC ¶¶ 226–

    29, 261–69, 274–77. That Plaintiff’s injuries supposedly worsened over time does not delay the

    accrual of his claims.

            Plaintiff also asserts (at 16) that he “was not aware that his sensitive, confidential, and

    proprietary data had been stolen and misappropriated until September 16, [2021].” 3 But the release

    of DNS information, on which his claims are predicated, was public in October 2016. AC ¶¶ 124–

    30, 253–77. Plaintiff’s own allegations are therefore fatal to his tolling argument.




     2
         The second category—damages to Plaintiff’s reputation—contradicts the AC’s assertion that
         “Plaintiff does not claim nor seek any compensation for damage to his reputation.” AC ¶ 656.
     3
         Plaintiff’s Opposition says “September 16, 2017,” which would render his claim untimely, but
         the paragraph cited in his AC says 2021.


                                                     6
Case 2:22-cv-14102-DMM Document 250 Entered on FLSD Docket 08/11/2022 Page 12 of 31




             C.     Plaintiff’s Other Claims Are Time-Barred.

             Plaintiff argues (at 16) that his malicious prosecution and conspiracy claims are timely.

    But because Plaintiff was not prosecuted, his claims do not exist at all. Infra pp. 17–18; MTD 6.

             Plaintiff also asserts (at 17) that his injurious falsehood and conspiracy claims are timely

    based on equitable tolling, or because some statements were made within two years of his filing.

    With regard to the more recent statements, his claims fail for other reasons. See MTD 19–22; infra

    pp. 15–17. And by his silence, Plaintiff concedes that the statements more than two years old are

    time-barred if the Court (correctly) rejects his equitable tolling theory.

             Finally, Plaintiff asserts (at 17–18) that his CFAA, SCA, and trade secrets claims are timely

    under the discovery rule. This assertion fails for the same reason described above—the AC

    confirms Plaintiff was on notice of his alleged injury no later than October 2016. See AC ¶ 324.

    Because both the CFAA and SCA have two-year limitations periods, and the trade secret claim

    has a three-year limitations period, these claims are untimely and must be dismissed. 4 MTD 6–7.

    II.      EACH OF PLAINTIFF’S CLAIMS FAILS ON THE MERITS.

             A.     Plaintiff’s Civil RICO Claim (Count I) and Conspiracy Claim (Count II) Fail
                    on Multiple Independent Grounds.

             Plaintiff Has Not Alleged a RICO Enterprise.            Plaintiff devotes six pages of his

    Opposition to irrelevant arguments concerning the enterprise element, Opp. 19–24, while largely

    ignoring Defendants’ actual argument: that Plaintiff was required—but failed—to plead a RICO

    enterprise with a shared purpose to engage in illegal activity. To the extent Plaintiff addresses this

    point at all, his arguments lack merit.

             Plaintiff first argues (at 22) that an illegal purpose is “not required.” But Plaintiff and his



     4
          Chappell v. Rich, 340 F.3d 1279 (11th Cir. 2003), is inapposite. That case involved claims
          under 42 U.S.C. §§ 1983 and 1985, and has no relation to the CFAA or SCA.


                                                       7
Case 2:22-cv-14102-DMM Document 250 Entered on FLSD Docket 08/11/2022 Page 13 of 31




    campaign sang a different tune when they were sued as RICO defendants, arguing that “[a] RICO

    plaintiff must allege not just a common purpose, but an unlawful common purpose.” Mot. to

    Dismiss, DE 212, at 17, DNC v. Russian Fed’n, No. 18-cv-3501 (S.D.N.Y. Dec. 7, 2018); Mot. to

    Dismiss, DE 65, at 26, Doe v. Trump Corp., No. 18-cv-9936 (S.D.N.Y. Jan. 14, 2019) (associates

    “must share a common purpose to engage in a particular fraudulent course of conduct.”). Plaintiff

    was right the first time: a RICO plaintiff must allege an unlawful common purpose. See MTD 8.

           Plaintiff next argues (at 19) that he has satisfied any improper purpose requirement by

    alleging the “unlawful goal” of “corruptly and wrongfully harming [his] political reputation,

    damaging his electability . . . , impeding his ability to effectively govern, and otherwise sabotaging

    his political career.” But Plaintiff needs more than pejorative descriptors like “corrupt” and

    “wrongful” to transform lawful, constitutionally protected political goals into a “shared purpose

    of engaging in illegal activity.” Al-Rayes v. Willingham, 914 F.3d 1302, 1308 (11th Cir. 2019).

           Plaintiff Has Not Alleged Any RICO Predicate Acts. Plaintiff argues (at 24) that his

    allegations establish that each RICO Defendant “conducted or participated” in the enterprise’s

    affairs. But that is not sufficient: instead, Plaintiff must show that such participation took place

    through “a pattern of racketeering activity,” 18 U.S.C. § 1962(c), involving at least two predicate

    acts by each defendant, MTD 9. His allegations do not establish a single act of trade secrets theft,

    witness tampering, or wire fraud, let alone a pattern of such activity by each Defendant.

           No Theft of Trade Secrets. Plaintiff bases his DTSA predicate act on the alleged theft of

    DNS data, an IP address record that is automatically generated and shared whenever a server

    communicates with another server. MTD 10–11. Plaintiff argues (at 32) that DNS data is a trade

    secret because it “reveals a comprehensive view” into his website and email traffic, and thus holds

    “potential value” to “a rival candidate.” But “potential value” in a political campaign does not




                                                      8
Case 2:22-cv-14102-DMM Document 250 Entered on FLSD Docket 08/11/2022 Page 14 of 31




    render DNS data a trade secret. As Plaintiff concedes, the information must have “independent

    economic value,” and he must take “reasonable steps” to keep it secret. Opp. 30 (emphasis added).

    Plaintiff, however, fails to allege that he has any plans to commercially exploit DNS data, that the

    data is a secret, or that he even owns or possesses it. MTD 9–11.

           Rather than confront these defects, Plaintiff asks the Court to punt the question of whether

    DNS data is a trade secret until after discovery, arguing (at 30) that “whether a particular type of

    information constitutes a trade secret is a question of fact.” But to survive a motion to dismiss,

    Plaintiff must plead facts establishing that DNS data satisfies the essential elements of a

    protectable trade secret. Here, Plaintiff’s allegation that DNS data could reveal “contacts, client

    lists, business dealings, financial dealings, communications” or other potentially valuable

    information, Opp. 30 (quoting AC ¶ 545), provides nothing more than the type of vague,

    conclusory description courts routinely reject as insufficient. See VVIG, Inc. v. Alvarez, No. 18-

    cv-23109, 2019 WL 5063441, at *4 (S.D. Fla. Oct. 9, 2019) (“General allegations of ‘business

    affairs, products, marketing systems technology, customers, end users, [and] financial affairs’ . . .

    are insufficient” to adequately allege trade secrets); Taxinet Corp. v. Leon, No. 16-cv-24266, 2018

    WL 3405243, at *3 (S.D. Fla. July 12, 2018) (rejecting “‘broad categories of information,’” as

    insufficient to adequately allege trade secrets).

           Further, Plaintiff does not dispute that DNS data is “public” or that companies that provide

    DNS resolution services have access to this information. MTD 10–11. He tries to get around this

    by asserting (at 31) that trade secrets “need not be wholly private,” and that “a unique compilation”

    of publicly available information may qualify as a trade secret. That is true, but unhelpful to

    Plaintiff. As alleged in the AC, the only person who undertook any “compilation” or “distillation”

    of information was Rodney Joffe, who allegedly accessed “Neustar” databases to pull DNS data.




                                                        9
Case 2:22-cv-14102-DMM Document 250 Entered on FLSD Docket 08/11/2022 Page 15 of 31




    AC ¶¶ 35, 36, 134. Even if this “compilation” had economic value, there is no allegation that

    Plaintiff knew the compilation existed or planned to commercially exploit it, nor that he would

    have any right to do so (because the compilation was not “his” in the first place).

           Plaintiff likewise fails to plausibly allege he owned or possessed the DNS data. He gets

    no traction from Kremen v. Cohen, which involved a domain name (www.sex.com) that was

    registered to the plaintiff and that had the status of property for purposes of a conversion claim

    under California law. 337 F.3d 1024, 1029 (9th Cir. 2003). The court’s only passing reference to

    “DNS” came in its discussion of whether the plaintiff’s domain-name rights were reflected in “a

    document.” Id. at 1034–35. Nowhere did Kremen, or any other case Plaintiff cites, discuss

    whether an individual DNS lookup record was itself proprietary in nature, and thus independently

    subject to a conversion claim. Kremen thus does not stand for the idea “that an individual has

    ownership rights in his DNS data,” Opp. 31, nor does it address whether DNS data is a trade secret.

           No Obstruction of Justice. Plaintiff argues (at 27–28) that Defendants violated the federal

    witness tampering statute, 18 U.S.C. § 1512(b)(3), by making “false and misleading statements”

    and providing “falsified and fabricated” records to “federal law enforcement officers.” These

    alleged misrepresentations include (1) certain reports within the Steele Dossier, Opp. 28, which

    Steele allegedly provided to the FBI, AC ¶ 158, 169; (2) Sussmann’s statement to the FBI that he

    was not acting “on behalf of a client or company” when he presented information suggesting a

    suspicious pattern of activity between Trump servers and those of a notorious Russian Bank, Opp.

    28 (citing AC ¶¶ 204–14); and (3) the “deceptive analysis” of the Trump–Alfa Bank activity

    supposedly contained in white papers Sussmann provided to the FBI, Opp. 28 (citing AC ¶ 206).

    But Steele is not a RICO Defendant, and Sussmann was acquitted by a unanimous jury of making




                                                    10
Case 2:22-cv-14102-DMM Document 250 Entered on FLSD Docket 08/11/2022 Page 16 of 31




    a false statement to the FBI—a fact Plaintiff conspicuously omits from the AC. MTD 12 n.12. 5

            Providing false statements directly to federal agents does not, in any event, fit within the

    text of § 1512(b)(3), which proscribes “knowingly” engaging in “misleading conduct toward

    another person” with intent to “hinder, delay, or prevent the communication to a law enforcement

    officer . . . of information relating to the commission or possible commission of a Federal offense.”

    18 U.S.C. § 1512(b)(3) (emphases added). By its plain text, this subsection requires misleading

    conduct “toward someone besides the investigating federal law enforcement agents themselves.”

    United States v. Amri, No. 17-cr-50, 2017 WL 3262254, at *14 (E.D. Va. July 31, 2017); see also

    United States v. Williams, 571 F. App’x 887, 890–91 (11th Cir. 2014) (applying 18 U.S.C. § 1001

    to statements made directly to FBI and § 1512(b)(3) to interference with third-party witness). The

    cases on which Plaintiff relies are inapposite because they involve false or misleading evidence

    conveyed to federal law enforcement officers through third parties—state law enforcement

    officers. See United States v. Ronda, 455 F.3d 1273, 1285 (11th Cir. 2006) (defendants planted

    evidence and made false statements to state investigators prior to a federal investigation); United

    States v. Ronga, 682 F. App’x 849, 851–52, 855 (11th Cir. 2017) (defendant police officer lied to

    state investigators before being federally prosecuted). Because the AC asserts that the RICO

    Defendants provided misleading information directly to federal law enforcement officers, Plaintiff

    fails to allege conduct indictable under § 1512(b)(3).6


     5
         Plaintiff repeats his allegations elsewhere in his Opposition that Danchenko made false
         statements to the FBI. E.g., Opp. 25–26. But like Sussmann, Danchenko will face trial on the
         18 U.S.C. § 1001 allegations, and like Steele, Danchenko is not a RICO Defendant.
     6
         Plaintiff argues (at 29) that Sussmann’s communications with federal authorities do not qualify
         as protected petitioning activity because they fall within the “sham” exception to the Noerr-
         Pennington doctrine. But Plaintiff’s own allegations foreclose the application of that narrow
         exception. Central to Plaintiff’s theory is that Sussmann and others allegedly took steps which
         resulted in the federal investigations that purportedly caused Plaintiff’s injuries, AC ¶ 524, and
         “a successful effort to influence governmental action . . . certainly cannot be characterized as
         a sham,” Pro. Real Estate Invs., Inc. v. Columbia Picture Indus., Inc., 508 U.S. 49, 58 (1993).


                                                      11
Case 2:22-cv-14102-DMM Document 250 Entered on FLSD Docket 08/11/2022 Page 17 of 31




           Plaintiff separately argues that Defendants’ alleged provision of false information to FBI

    agents violates 18 U.S.C. § 1512(c)(2), which prohibits conduct that “corruptly . . . obstructs,

    influences, or impedes any official proceeding.” But neither of the cases Plaintiff cites supports

    his position that the FBI’s Crossfire Hurricane investigation constitutes an “official proceeding”

    (it does not). See MTD 12. In United States v. Grubb, 11 F.3d 426 (4th Cir. 1993), the defendant

    lied to FBI agents in the context of a federal grand jury proceeding. Id. at 437–38. And in United

    States v. Lee, 919 F.3d 340 (6th Cir. 2019), the parties never briefed, and the court never decided,

    whether an FBI investigation qualifies as an official proceeding. The only issue before the court

    was whether the government had presented sufficient evidence of intent. Id. at 358–59.

           No Wire Fraud. Plaintiff does not dispute that the federal wire fraud statute is “limited in

    scope to the protection of property rights.” Spence-Jones v. Rundle, 991 F. Supp. 2d 1221, 1254

    (S.D. Fla. 2013). He asserts instead (at 34) that Defendants betrayed their “ignorance” of the law

    by arguing that wire fraud encompasses schemes “to obtain” money or property but not schemes

    “to deprive” another of money or property. But this mischaracterizes the point. “Obtaining”

    money or property and “depriving” another of it describe the same action from the perspectives of

    the perpetrator (who obtains money or property) and the victim (who is deprived of it). What

    Plaintiff mischaracterizes as “ignorance” is actually a quote from the Supreme Court, which held

    that a valid wire fraud claim exists “only if an object of the[] dishonesty was to obtain . . . money

    or property.” Kelly v. United States, 140 S. Ct. 1565, 1568 (2020) (emphases added).

           Ultimately, this quibbling gets Plaintiff nowhere, because he has not alleged either that

    Defendants obtained money or property or deprived anyone else of it. Instead, Plaintiff claims (at

    34, 36) that he suffered collateral damage in the form of lost “political and/or business reputation”

    and lost business opportunities when Defendants “defraud[ed]” reporters and law enforcement




                                                     12
Case 2:22-cv-14102-DMM Document 250 Entered on FLSD Docket 08/11/2022 Page 18 of 31




    officers with a “false narrative” that Plaintiff colluded with Russia. But “[d]amage to reputation

    is generally considered personal injury and thus is not an injury to ‘business or property’ within

    the meaning of 18 U.S.C. § 1964(c).” Hamm v. Rhone-Poulenc Rorer Pharms., Inc., 187 F.3d

    941, 954 (8th Cir. 1999) (collecting cases). For that reason, “federal courts routinely and soundly

    reject” attempts “to spin an alleged scheme to harm a plaintiff’s reputation into a RICO claim.”

    Rajaratnam v. Motley Rice, LLC, 449 F. Supp. 3d 45, 73–74 (E.D.N.Y. 2020) (collecting cases).

           Even if lost business opportunities stemming from reputational injury could in theory

    qualify as lost “property” for wire fraud purposes, Plaintiff has not identified his business injuries

    with the required specificity. His conclusory allegations that he suffered “loss of competitive

    position, . . . loss of business revenue, loss of goodwill, loss of trade secrets, and/or loss of

    contractual relations” do not suffice under Rule 8’s bare notice-pleading standard, let alone Rule

    9(b)’s particularity standard.

           Plaintiff Has Not Pleaded a Pattern of Racketeering Activity. Plaintiff argues (at 37) that

    he has shown open-ended continuity with his allegations that Clinton engaged in political

    commentary concerning Plaintiff’s relationship with Putin in 2019, 2021, and 2022; that former

    campaign official Podesta runs the Moscow Project; and that Podesta, Sussmann, Joffe, Sullivan,

    and Fusion GPS worked with the Democracy Integrity Project to “continue exposing Russian

    Interference in the 2016 election.”      But none of these First-Amendment-protected political

    activities establishes open-ended continuity because none involves a RICO predicate act. Nor has

    Plaintiff pleaded any facts from which the Court could infer that these Defendants were attempting

    to further “the enterprise’s affairs,” as opposed to “their own affairs,” when they joined these

    disparate organizations and efforts. Reves v. Ernst & Young, 507 U.S. 170, 179, 185 (1993).

    Podesta and Sullivan, indeed, are not alleged to be part of the RICO enterprise at all. AC ¶ 530.




                                                     13
Case 2:22-cv-14102-DMM Document 250 Entered on FLSD Docket 08/11/2022 Page 19 of 31




           Nor has Plaintiff shown closed-end continuity, which requires “a series of related

    predicates extending over a substantial period of time.” MTD 14. Here, the alleged predicate acts

    were tightly clustered around the 2016 election. Id. Although Plaintiff speculates (at 38) that “it

    is a near certainty that RICO Defendants engaged in many more fraudulent acts” through the

    present, he fails to describe a single one with the “particularity” he acknowledges Rule 9(b)

    requires. Nor is there any merit to his position (at 39) that these fraudulent acts remain unknown

    to him because Defendants concealed them behind the veil of attorney-client privilege; Plaintiff

    has not identified any conduct or communications over which privilege has been asserted.

           Plaintiff Fails To Allege RICO Standing or Causation. Plaintiff argues (at 40) that he

    pleaded “at least nine independent and distinct harms to his business and property,” whereas

    Defendants challenged only two—attorneys’ fees and loss of business opportunities. But all of

    Plaintiff’s alleged injuries, from “loss of business revenue” to “loss of contractual relations,”

    merely describe some variety of lost business opportunity. Opp. 40. And all suffer from the same

    fatal defect: Plaintiff has not specified a single example of a lost contract, lost business revenue,

    or loss of goodwill resulting from the alleged racketeering.

           Plaintiff also has not established that the legal fees stemming from various investigations

    constitute an injury to business or property for purposes of the RICO statute. Plaintiff protests (at

    40) that it is “false” for Defendants to assert that he “did not pay the claimed fees out of his own

    pocket.” But candidates may use campaign funds to cover legal fees related to charges of official

    misconduct, and Plaintiff had the burden of pleading not only that he “incurred” these fees, but

    that he personally paid them. There are no such allegations.

           Far from bolstering his RICO claim, Plaintiff’s Opposition conclusively shows he cannot

    trace his alleged legal fees back to any act of racketeering. Although the AC alleges the FBI




                                                     14
Case 2:22-cv-14102-DMM Document 250 Entered on FLSD Docket 08/11/2022 Page 20 of 31




    “debunked” both the Steele Dossier and the Alfa Bank allegations no later than January 2017, AC

    ¶¶ 344, 444, Plaintiff now asserts (at 15) that he incurred all of his alleged legal fees “between

    September 2017 and 2020,” incurring “the vast majority” after “April 2018.” Moreover, he

    attributes these fees to “the Mueller Investigation.” Opp. 15. But the AC does not allege that the

    RICO Defendants are responsible for the Mueller Investigation, and the Mueller Report itself (at 1)

    attributes the investigation to causes having nothing to do with Defendants. In short, Plaintiff has

    no basis to seek recovery of these fees from Defendants. 7

            B.      Plaintiff Has Not Stated Claims for Injurious Falsehood (Count III) and
                    Conspiracy To Commit Injurious Falsehood (Count IV).

            With respect to the injurious falsehood claim (Count III) and the related conspiracy claim

    (Count IV), Plaintiff relies on a series of inapposite authorities and only highlights his failure to

    plead several necessary elements.

            First, Plaintiff summarily asserts (at 47) that the AC identifies “a bevy of falsehoods,” but

    does not identify what the statements are, where the Court can find them in the AC, or why they

    are untrue. Nor does he address Defendants’ observation that the AC’s sole allegations of falsity

    are entirely conclusory. See MTD 20.

            Second, Plaintiff does not identify any harm to his “economic interests,” Falic v. Legg

    Mason Wood Walker, Inc., 347 F. Supp. 2d 1260, 1268 (S.D. Fla. 2004) (emphasis added), pointing

    only to unspecified “loss of business opportunities, loss of competitive position, loss of business

    revenue,” and the like, Opp. 47, 49. But the AC does not name a single business opportunity or

    relationship that was harmed, nor tie Defendants’ statements to any economic injury. 8


     7
         The RICO conspiracy claim fails for the reasons given in Defendants’ motion. MTD 19.
     8
         Plaintiff’s claim (at 49) that the “Supreme Court” has held that “legal fees constitute special
         damages in trade libel claims” is entirely irrelevant (and non-controlling). That appeal to the



                                                     15
Case 2:22-cv-14102-DMM Document 250 Entered on FLSD Docket 08/11/2022 Page 21 of 31




           Third, Plaintiff’s response to Defendants’ arguments about special damages also falls flat.

    He cites nothing in the AC explaining how each statement contributed to or precipitated attorney’s

    fees, as is required to plead special damages. Instead, Plaintiff merely points the Court to the

    generalized allegation that he was “forced to incur expenses in an amount to be determined at

    trial.” Opp. 49 (quoting AC ¶ 655). As already explained, see MTD 20–21, this does not satisfy

    the rule that special damages be specifically stated. See Fed. R. Civ. P. 9(g).

           Fourth, Plaintiff’s response to Defendants’ First Amendment arguments is unavailing.

    Plaintiff relies (at 47–48) on the incorrect notion that Defendants enjoy only a “qualified privilege”

    to engage in political speech that may be overcome by a showing of actual malice. But Plaintiff

    fundamentally misunderstands the type of “malice” needed to overcome the robust First

    Amendment protections for political speech. Spite, “ill will,” or malice in the common-law sense

    of the term do not suffice. See Harte-Hanks Commc’ns, Inc. v. Connaughton, 491 U.S. 657, 666

    (1989). Defendants have an untrammeled right to criticize Plaintiff unless he plausibly alleges

    constitutional actual malice—that is, that Defendants published a false statement of fact “with

    knowledge that it was false or with reckless disregard of whether it was false or not.” N.Y. Times

    Co. v. Sullivan, 376 U.S. 254, 280 (1964). And Plaintiff cannot possibly make that showing here

    because the statements he challenges consist of rhetorical hyperbole or political opinion not

    provably true or false. See MTD 21–22.

           The case law Plaintiff cites in support of his argument does not involve the First

    Amendment or political speech at all, but rather addresses the question whether statements made

    to an investigator are subject to an absolute or qualified privilege under Florida state law. See


       Nevada Supreme Court raised the issue whether attorney’s fees had been properly awarded in
       a real property dispute, and was not a case in which the fees pre-dated the litigation. See
       Horgan v. Felton, 123 Nev. 577, 581 (2007).



                                                     16
Case 2:22-cv-14102-DMM Document 250 Entered on FLSD Docket 08/11/2022 Page 22 of 31




    Fridovich v. Fridovich, 598 So. 2d 65 (Fla. 1992).9 Even if the case law Plaintiff relies on did

    apply, and Defendants’ statements could be shown to be true or false, Plaintiff has attempted to

    plead actual malice in only the vaguest of terms, which is “insufficient” to state a claim. Corsi v.

    Newsmax Media, Inc., 519 F. Supp. 3d 1110, 1123 (S.D. Fla. 2021).

            C.      Plaintiff Has Not Stated a Claim for Malicious Prosecution (Count V) or for
                    the Related Conspiracy Claim (Count VI).

            Plaintiff fails to allege malicious prosecution because he does not allege any judicial

    proceeding brought “against the present plaintiff.” Melford v. Kahane & Assocs., 371 F. Supp. 3d

    1116, 1123–24 (S.D. Fla. 2019). He argues (at 50) that “[t]he Mueller Investigation qualifies as a

    criminal proceeding” for purposes of his malicious prosecution claim. But he fails to identify any

    authority for his proposition that an investigation that does not lead to any judicial process against

    the plaintiff is somehow a “judicial proceeding.” To the contrary, Florida law is clear that “[a]n

    action for malicious prosecution . . . [can] never occur outside the context of litigation.” Fischer

    v. Debrincat, 169 So. 3d 1204, 1209 (Fla. 4th DCA 2015). The only case that Plaintiff cites (at

    50) is Caplan v. Johnson, 414 F.2d 615 (5th Cir. 1969), which is inapposite. There, the Fifth

    Circuit held that the issuance of arrest warrants can suffice for malicious prosecution. Caplan,

    414 F.2d at 618. But here, no judge issued a warrant for Plaintiff’s arrest, nor did the Mueller

    Investigation result in any judicial process against him.

            Plaintiff also fails to satisfy any of the remaining five elements of a malicious prosecution

    claim. See MTD 23–25. He now argues (at 50), but fails to plausibly allege, see AC ¶¶ 456 &

    671, that the Crossfire Hurricane investigation and Mueller Investigation are one and the same.


     9
         To the extent that Plaintiff focuses on statements-to-investigators case law to argue that the
         alleged statements made to the FBI, see AC ¶¶ 649–50, are not subject to First Amendment
         protection, the authorities are distinguishable because they involve criminal activity, not
         legitimate political speech. See Asinmaz v. Semrau, 42 So. 3d 955, 958 (Fla. 4th DCA 2010)
         (reported theft of diamonds); Fridovich, 598 So. 2d at 66 (alleged murder).


                                                     17
Case 2:22-cv-14102-DMM Document 250 Entered on FLSD Docket 08/11/2022 Page 23 of 31




    But even were that true, Crossfire Hurricane was not a judicial proceeding, either. And Plaintiff

    fails plausibly to allege that Defendants caused either investigation. MTD 17, 24. Plaintiff also

    fails to show the Mueller Investigation terminated either “on the merits” or “favorabl[y]” to him.

    Id. at 25. With no malicious prosecution claim, the conspiracy claim also fails. See MTD 25.

            D.      Plaintiff Has Not Stated a Claim Under the Computer Fraud and Abuse Act
                    (Count VII).

            Plaintiff’s Opposition reveals that his CFAA claim fundamentally misunderstands the

    “without authorization” element, as well as the types of damages recoverable under the statute.

    777 Partners LLC v. Pagnanelli, No. 20-cv-20172, 2021 WL 2038175, at *4-5 (S.D. Fla. Mar. 8,

    2021). Indeed, Plaintiff alleges only that certain Defendants accessed DNS data to which they had

    legitimate access, and the CFAA does not extend liability to individuals who “have [allegedly]

    improper motives for obtaining information that is otherwise available to them.” Van Buren v.

    United States, 141 S. Ct. 1648, 1652, 1662 (2021); MTD 26–27. Moreover, DNS data is neither

    secret nor confidential, and is shared automatically with a wide array of entities. 10

            Similarly, damages under the CFAA are limited to: (1) reasonable costs associated with

    responding to a breach, such as “assessing the damage done” and “restoring” systems to their prior

    condition, and (2) revenue lost or costs incurred because of an interruption of service. Brown

    Jordan Int’l, Inc. v. Carmicle, 846 F.3d 1167, 1174 (11th Cir. 2017); see also 777 Partners LLC,

    2021 WL 2038175, at *5 (defining “damage” under the CFAA as “an impairment to the integrity

    or availability of data, a program, a system, or information”). Other types of losses, such as “lost

    revenue from the possible misappropriation of ‘stolen’ information,” do not count toward the


    10
         Plaintiff’s citation to Bessemer Sys. Fed. Credit Union v. Fiserv Sols., No. 19-cv-00624-RJC,
         2021 WL 4198281 (W.D. Pa. Sept. 15, 2021), is puzzling. There, the court declined to dismiss
         a breach of contract claim, but there was no CFAA claim before the court. And courts in this
         district routinely grant motions to dismiss CFAA claims. See Doty v. ADT, LLC, 20-cv-60972,
         2020 WL 9071421, at *8 (S.D. Fla. Dec. 30, 2020).


                                                     18
Case 2:22-cv-14102-DMM Document 250 Entered on FLSD Docket 08/11/2022 Page 24 of 31




    $5,000 statutory minimum. Schwartz v. ADP, Inc., No. 21-cv-283, 2021 WL 5760434, at *2 (M.D.

    Fla. Dec. 3, 2021) (citation omitted). Plaintiff is therefore flatly wrong when he argues (at 55) that

    the CFAA covers “any reasonable cost to any victim.”

           E.      Plaintiff Has Not Stated a Claim Under the Defend Trade Secrets Act (Count
                   VIII).

           Plaintiff relies (at 55) on the discussion of DNS information in his RICO claims to defend

    his trade secrets claim. But DNS information is not a trade secret. Supra p. 8–10; MTD 10–11.

           F.      Plaintiff Has Not Stated a Claim Under the Stored Communications Act
                   (Count IX).

           Plaintiff argues (at 52) that he has stated a claim for violation of the SCA because he alleged

    that Defendants “intentionally and improperly exceeded their authority to access servers belonging

    to the EOP and Trump Organization to access non-public, proprietary, and confidential

    information.” This argument misses the point for at least two reasons.

           First, Plaintiff has not sufficiently alleged facts to support his contention that Defendants

    accessed “private data.”     As explained supra at 9, the information allegedly accessed—IP

    addresses, “internet domains,” e-mail addresses, and “domains that related to Donald J. Trump,

    the Trump Organization, and numerous Trump associates”—is not private. Opp. 52–53; MTD

    10–11. Thus, it does not fall within the purview of the SCA. Live Face on Web, LLC v. Tweople,

    Inc., No. 14-cv-44, 2014 WL 12611359, at *3 (M.D. Fla. Sept. 29, 2014).

           Second, the “facilities” identified in the AC and Opposition—“computer servers, networks

    or systems” belonging to the EOP and Trump Organization, not Plaintiff himself—are not covered

    by the SCA. See MTD 28–29. Plaintiff’s reliance upon Brown Jordan Int’l, Inc. v. Carmicle, 846

    F.3d 1167 (11th Cir. 2017), and Hamilton Group Funding v. Basel, 311 F. Supp. 3d 1307 (S.D.

    Fla. 2018), is unavailing. In those cases, the defendant improperly accessed and reviewed the

    content of password-protected emails of co-employees. They offer no support to Plaintiff’s claims.


                                                     19
Case 2:22-cv-14102-DMM Document 250 Entered on FLSD Docket 08/11/2022 Page 25 of 31




           G.      Plaintiff’s Agency and Respondeat Superior Counts Have Been Abandoned
                   and Should Be Dismissed (Counts X–XVI).

           Plaintiff has abandoned his agency and vicarious liability counts in the AC by failing to

    present any argument in support of those counts, or otherwise oppose Defendants’ arguments for

    dismissal of those counts. See Gomez v. Miami-Dade Cnty., 563 F. Supp. 3d 1211, 1218 (S.D.

    Fla. 2021). Those counts should also be dismissed for failure to state a claim. See MTD 29–30.

    III.   PLAINTIFF’S REQUEST FOR LEAVE TO AMEND IS IMPROPER AND
           SHOULD BE DENIED.

           Plaintiff cursorily requests further leave to amend in a tacked-on paragraph (at 55). But

    the Eleventh Circuit has rejected such contingent requests smuggled into opposition briefs,

    explaining that a litigant must formally move to amend and provide an explanation and proposed

    amendment, to state a valid request. See, e.g., Pittman v. State Farm Fire & Cas. Co., 662 F.

    App’x 873, 882–83 (11th Cir. 2016); Urquilla-Diaz v. Kaplan Univ., 780 F.3d 1039, 1057 n.14

    (11th Cir. 2015); Lord Abbett Mun. Income Fund, Inc. v. Tyson, 671 F.3d 1203, 1208 (11th Cir.

    2012); see also S.D. Fla. Local Rule 15.1.

           Moreover, Plaintiff has already amended once, with the benefit of Defendants’ initial

    motions to dismiss. As the arguments in both rounds of extensive briefing demonstrate, the failings

    in the AC are not fixable. His claims are untimely and otherwise legally defective, and his

    allegations depend largely on government documents, including the Mueller Report and the IG

    Report on Crossfire Hurricane, whose contents he misrepresents and which no amount of

    discovery can change. Any motion to amend, even if properly brought, would be futile. This

    Court should accordingly dismiss the AC with prejudice.

                                                CONCLUSION

           For the reasons given above and in Defendants’ Motion to Dismiss, the AC should be

    dismissed with prejudice in its entirety.


                                                    20
Case 2:22-cv-14102-DMM Document 250 Entered on FLSD Docket 08/11/2022 Page 26 of 31



    Dated: August 11, 2022                            Respectfully submitted,


    /s/ David Oscar Markus                            /s/ David E. Kendall
    David Oscar Markus                                David E. Kendall (pro hac vice)
    MARKUS/MOSS PLLC                                  Katherine M. Turner (pro hac vice)
    40 NW 3rd Street, PH 1                            Michael J. Mestitz (pro hac vice)
    Miami, FL 33128                                   WILLIAMS & CONNOLLY LLP
    Tel: (305) 379-6667                               680 Maine Avenue, S.W.
                                                      Washington, DC 20024
                                                      Tel: (202) 434-5000
                                                      Fax: (202) 434-5029
                                                      dkendall@wc.com
                                                      kturner@wc.com
                                                      mmestitz@wc.com
                             Attorneys for Defendant Hillary Rodham Clinton


    /s/ Robert P. Trout
    Robert P. Trout (pro hac vice)
    Paola Pinto (Florida Bar Number 1013933)
    SCHERTLER ONORATO MEAD & SEARS
    555 13th Street, N.W.
    Suite 500 West
    Washington, D.C. 20004
    Phone: (202) 628-4155
    rtrout@schertlerlaw.com
    ppinto@schertlerlaw.com
                       Attorneys for Defendants HFACC, Inc. and John Podesta


    /s/ Gerald Edward Greenberg                       /s/ Roberta A. Kaplan
    Gerald Edward Greenberg                           Roberta A. Kaplan (pro hac vice)
    GELBER SCHACHTER & GREENBERG PA                   Shawn G. Crowley (pro hac vice)
    One Southeast Third Avenue                        Maximillian L. Feldman (pro hac vice)
    Suite 2600                                        KAPLAN HECKER & FINK LLP
    Miami, FL 33131-1715                              350 Fifth Avenue, 63rd Floor
    Tel: (305) 728-0950                               New York, NY 10118
    ggreenberg@gsgpa.com                              Tel: (212) 763-0883
                                                      rkaplan@kaplanhecker.com
                                                      scrowley@kaplanhecker.com
                                                      mfeldman@kaplanhecker.com

        Attorneys for Defendants Democratic National Committee, DNC Services Corporation, and
                                      Debbie Wasserman Schultz




                                                 21
Case 2:22-cv-14102-DMM Document 250 Entered on FLSD Docket 08/11/2022 Page 27 of 31




    /s/ Eleni Kastrenakes Howard                       /s/ Nancy E. Hart
    Eleni Kastrenakes Howard (Fla. Bar No.             Nancy E. Hart (pro hac vice)
    0073073)                                           GIBSON, DUNN & CRUTCHER LLP
    Howard J. Harrington (Fla. Bar No. 0118719)        200 Park Avenue
    AKERMAN LLP                                        New York, NY 10166-0193
    777 South Flagler Drive                            nhart@gibsondunn.com
    Suite 1100, West Tower
    West Palm Beach, FL 33401
    Tel: (561) 653-5000
    Fax: (561) 659-6313
    eleni.kastrenakeshoward@akerman.com
    jay.harrington@akerman.com

    /s/ F. Joseph Warin
    F. Joseph Warin (pro hac vice)
    Geoffrey M. Sigler (pro hac vice)
    Katherine Moran Meeks (pro hac vice)
    GIBSON, DUNN & CRUTCHER LLP
    1050 Connecticut Avenue, N.W.
    Washington, DC 20036-5306
    fwarin@gibsondunn.com
    gsigler@gibsondunn.com
    kmeeks@gibsondunn.com
                                   Attorneys for Perkins Coie LLP


    /s/ Eugene K. Pettis                               /s/ Reid J. Schar
    Eugene K. Pettis (Fla. Bar #508454)                Reid J. Schar (pro hac vice)
    Debbie P. Klauber (Fla. Bar #55646)                April A. Otterberg (pro hac vice)
    HALICZER, PETTIS & SCHWAMM                         JENNER & BLOCK LLP
    One Financial Plaza                                353 N. Clark St.
    100 S.E. 3rd Ave., Seventh Floor                   Chicago, IL 60654
    Fort Lauderdale, FL 33394                          Tel: (312) 222-9350
    Tel: (954) 523-9922
                                 Attorneys for Defendant Marc Elias




                                                  22
Case 2:22-cv-14102-DMM Document 250 Entered on FLSD Docket 08/11/2022 Page 28 of 31




    /s/ Roberto Martinez                               /s/ Sean M. Berkowitz
    Roberto Martínez (Florida Bar No. 305596)          Sean M. Berkowitz (pro hac vice)
    Zachary Lipschultz (Florida Bar No. 123594)        LATHAM & WATKINS LLP
    COLSON, HICKS, EIDSON, P.A.                        330 N. Wabash, Suite 2800
    255 Alhambra Circle, Penthouse                     Chicago, IL 60611
    Coral Gables, FL 33134                             Tel: (312) 876-7700
    Tel: (305) 476-7400                                sean.berkowitz@lw.com
    bob@colson.com
    zach@colson.com                                    /s/ Stephen P. Barry
                                                       Stephen P. Barry (pro hac vice)
                                                       LATHAM & WATKINS LLP
                                                       555 Eleventh Street NW, Suite 1000
                                                       Washington, DC 20004
                                                       Tel: (202) 637-2200
                                                       stephen.barry@lw.com

                                                       /s/ Michael F. Houlihan
                                                       Michael F. Houlihan (pro hac vice)
                                                       LATHAM & WATKINS LLP
                                                       200 Clarendon Street
                                                       Boston, MA 02116
                                                       Tel: (617) 880-4642
                                                       michael.houlihan@lw.com
                              Attorneys for Defendant Michael Sussmann


    /s/ Jonathan Edward Levine                         /s/ George R.A. Doumar
    Jonathan Edward Levine (FBN 937711)                George R.A. Doumar (pro hac vice)
    Levine & Associates, PLLC                          Mahdavi, Bacon, Halfhill & Young PLLC
    5311 Lee Highway                                   11350 Random Hills Road, Suite 700
    Arlington, VA 22207                                Fairfax, VA 22030
    Tel: (703) 525-2669                                Tel: (703) 352-1300
                               Attorneys for Charles Halliday Dolan, Jr.


    /s/ Brian L. Stekloff                              /s/ William R. Barzee
    Brian L. Stekloff (pro hac vice)                   William R. Barzee (Florida Bar No. 158720)
    Sarah E. Neuman (pro hac vice)                     BARZEE FLORES
    WILKINSON STEKLOFF LLP                             Courthouse Center, Penthouse One
    2001 M Street, NW, 10th Floor                      40 NW Third Street
    Washington, DC 20036                               Miami, FL 33128
    Tel: (202) 847-4000                                Tel: (305) 374–3998
    bstekloff@wilkinsonstekloff.com                    williambarzee@barzeeflores.com
    sneuman@wilkinsonstekloff.com
                                 Attorneys for Defendant Jake Sullivan




                                                  23
Case 2:22-cv-14102-DMM Document 250 Entered on FLSD Docket 08/11/2022 Page 29 of 31




    /s/ Andrew J. Ceresney                           /s/ William R. Barzee
    DEBEVOISE & PLIMPTON LLP                         William R. Barzee (Florida Bar No. 158720)
    Andrew J. Ceresney (pro hac vice)                BARZEE FLORES
    Wendy B. Reilly (pro hac vice)                   Courthouse Center, Penthouse One
    Isabela M. Garcez (pro hac vice)                 40 NW Third Street
    919 Third Avenue                                 Miami, FL 33128
    New York, NY 10022                               Tel: (305) 374-3998
    Tel: (212) 909-6000                              williambarzee@barzeeflores.com
    aceresney@debevoise.com
    wbreilly@debevoise.com
    imgarcez@debevoise.com
                               Attorneys for Defendant Robert E. Mook


    /s/ Adam S. Fels                                 /s/ Joshua A. Levy
    Adam S. Fels                                     Joshua A. Levy (pro hac vice)
    FRIDMAN FELS & SOTO PLLC                         Rachel Clattenburg (pro hac vice)
    2525 Ponce de Leon Blvd., Suite 750              Kevin P. Crenny (pro hac vice)
    Coral Gables, FL 33134                           LEVY FIRESTONE MUSE LLP
    Tel: (305) 569-7701                              900 17th St. NW, Suite 1200
    afels@ffslawfirm.com                             Washington, D.C. 20006
                                                     Tel: (202) 845-3215
                                                     Fax: (202) 595-8253
                                                     jal@levyfirestone.com
                                                     rmc@levyfirestone.com
                                                     kcrenny@levyfirestone.com
                Attorneys for Defendants Fusion GPS, Peter Fritsch, and Glenn Simpson


    /s/ Joshua Berman                                /s/ Adam Fels
    Joshua Berman                                    Adam Fels (Florida Bar No. 0114917)
    CLIFFORD CHANCE US LLP                           FRIDMAN FELS & SOTO, PLLC
    2011 K Street, NW                                2525 Ponce de Leon Blvd., Suite 750
    Washington, D.C. 20006                           Coral Gables, FL 33134
    Tel: (202) 912-5000                              Tel: (305) 569-7701
    Fax: (202) 912-6000                              Afels@ffslawfirm.com
    Joshua.Berman@CliffordChance.com


    /s/ Benjamin Peacock
    Benjamin Peacock
    CLIFFORD CHANCE US LLP
    New York, New York 10019
    Tel: (212) 878-8000
    Fax: (212) 878-8375
    Benjamin.Peacock@CliffordChance.com

                                Attorneys for Bruce Ohr and Nellie Ohr



                                                24
Case 2:22-cv-14102-DMM Document 250 Entered on FLSD Docket 08/11/2022 Page 30 of 31




    /s/ Franklin Monsour Jr.                           /s/ Diana Marie Fassbender
    Franklin Monsour Jr. (pro hac vice)                Diana Marie Fassbender (Fla Bar ID #17095)
    ORRICK, HERRINGTON & SUTCLIFFE LLP                 ORRICK, HERRINGTON & SUTCLIFFE LLP
    51 West 52nd Street                                1152 15th Street N.W.
    New York, NY 10019-6142                            Washington, DC 20005-1706
    Tel: (212) 506-3512                                Tel: (202) 339-88533
    Fax: (212) 506-5151                                Fax: (202) 339-8500
    fmonsour@orrick.com                                dszego@orrick.com
                                       Attorneys for Igor Danchenko


    /s/ Samantha L. Southall                           /s/ Jennifer Olmedo Rodriguez
    Samantha L. Southall (pro hac vice)                Jennifer Olmedo Rodriguez (Florida Bar No.
    Pennsylvania Bar No. 80709                         605158)
    BUCHANAN INGERSOLL & ROONEY PC                     BUCHANAN INGERSOLL & ROONEY PC
    50 S. 16th Street, Suite 3200                      2 South Biscayne Blvd., Suite 1500
    Philadelphia, PA 19102                             Miami, Florida 33131
    Tel: (215) 665 8700                                Tel: (305) 347 4080
    Fax: (215) 667 8760                                Fax: (305) 347 4089
    samantha.southall@bipc.com                         jennifer.olmedo-rodriguez@bipc.com
                                Attorneys for Defendant Neustar, Inc.


    /s/ John M. McNichols                              /s/ James E. Gillenwater
    John M. McNichols (pro hac vice)                   James E. Gillenwater (Bar No. 1013518)
    Allison S. Eisen (pro hac vice)                    GREENBERG TRAURIG P.A.
    Kathryn E. Garza (pro hac vice)                    333 SE 2nd Ave., Suite 4400
    WILLIAMS & CONNOLLY LLP                            Miami, FL 33131
    680 Maine Ave, S.W.                                Tel: (305) 579-0500
    Washington, D.C. 20024                             Fax: (305) 579-0717
    Tel: (202) 434-5000                                gillenwaterj@gtlaw.com
    Fax: (202) 434-5029
    jmcnichols@wc.com

                               Attorneys for Neustar Security Services


    /s/ Edward Soto                                    /s/ Steven A. Tyrrell
    Edward Soto (FBN 0265144)                          Steven A. Tyrrell (pro hac vice)
    WEIL GOTSHAL & MANGES LLP                          WEIL GOTSHAL & MANGES LLP
    1395 Brickell Avenue, Suite 1200                   2001 M Street, N.W., Suite 600
    Miami, FL 33131                                    Washington, D.C. 20036
    Tel: (305) 577-3100                                Tel: (202) 682-7000
    Fax: (305) 374-7159                                Fax: (202) 857-0940

                                        Attorneys for Rodney Joffe




                                                  25
Case 2:22-cv-14102-DMM Document 250 Entered on FLSD Docket 08/11/2022 Page 31 of 31



                                   CERTIFICATE OF SERVICE

           I hereby certify that on this 11th day of August, 2022, I caused a copy of the foregoing

    Reply in Support of Defendants’ Motion to Dismiss to be served on all counsel of record via

    CM/ECF. All parties required to be served have been served.


                                                 /s/ David Oscar Markus
                                                     David Oscar Markus
